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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT LOUISIANA

Dora Garcia-Gabaldon,
Plaintiff,

v.

MERCK & CO., INC.,

Defendant(s).

DOCKET NO. 2:06-cv-3368

STIPULATION OF DISMISSAL
WITH PREJUDICE
AS TO ALL DEFENDANTS

STIPULATION OF DISMISSAL WITH PREJUDICE AS TO ALL DEFENDANTS

Pursuant to Federal Rule of Civil Procedure 41, the undersigned counsel hereby stipulate

that all claims of plaintiff Dora Garcia-Gabaldon against defendant Merck & Co., Inc. and all

NN

other named defendants be dismissed in their entirety with prejudice, each party to bear its own

costs.

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By: (hUt/

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CERTIFICATE OF SERVICE

Thereby certify that the above and foregoing Stipulation of Dismissal With

Prejudice as to All Defendants has been served on Liaison Counsel, Russ Herman and Phillip

Wittmann, by U.S. Mail and e-mail or by hand delivery and e-mail and upon all parties by

electronically uploading the same to LexisNexis File & Serve Advanced in accordance with Pre-

Trial Order No. 8B, and that the foregoing was electronically filed with the Clerk of Court of the

United States District Court for the Eastern District of Louisiana by using the CM/ECF system

which will send a Notice of Electronic Filing in accord with the procedures established in MDL

1657, on this 26th day of May, 2010.

/s/ Stephen G. Strauss

Stephen G. Strauss

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